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                         United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION


UNITED STATES OF AMERICA     §
                             §
V.                           §                            CASE NO. 5:08CR2
                             §
MARCO ANTONIO GARCIA-MENDOZA §
                             §

            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. § 636(b) this matter has been referred by the District Court for

administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

Procedure.

       On this day, this cause came before the undersigned United States Magistrate Judge

for guilty plea and allocution of the Defendant on an Indictment charging in Count 1 violation

of Title 18, USC, Section 371, Conspiracy to Commit Fraud in Connection with Identification

Documents.     After conducting said proceeding in the form and manner prescribed by Fed.

R. Crim. P. 11 the Court finds:

       a.      That the Defendant after consultation with counsel of record, has knowingly

and voluntarily consented to the administration of the Guilty Plea and Allocution in this cause

by a United States Magistrate Judge subject to a final approval and imposition of sentence by

the District Court.

       b.      That the Defendant and the Government have entered into a plea agreement

which has been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(e)(2).

       c.      That the Defendant is fully competent and capable of entering an informed plea,

that the Defendant is aware of the nature of the charges and the consequences of the plea, and

that the plea of guilty is a knowing and voluntary plea supported by an independent basis in
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fact containing each of the essential elements of the offense.
 .
       d.       The Defendant understands his constitutional and statutory rights and wishes

to waive these rights; including the right to a trial by jury and the right to appear before a

United States District Judge.

       e.       All parties waive objections to this Recommendation on a Guilty Plea.

                IT IS THEREFORE RECOMMENDED that the District Court accept the Plea

Agreement and the Guilty Plea of the Defendant, and that MARCO ANTONIO GARCIA-

MENDOZA should be finally adjudged guilty of that offense.

            SIGNED this 30th day of May, 2008.




                                                     ____________________________________
                                                     CAROLINE M. CRAVEN
                                                     UNITED STATES MAGISTRATE JUDGE




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